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Attorneys for Plaintiff
Celgene Corporation

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


CELGENE CORPORATION,
                                                       Civil Action No. _______________
                          Plaintiff,
                                                       COMPLAINT FOR
       v.                                              PATENT INFRINGEMENT

                                                       (Filed Electronically)
SUN PHARMA GLOBAL FZE, SUN
PHARMA GLOBAL INC., SUN
PHARMACEUTICAL INDUSTRIES, INC.,
and SUN PHARMACEUTICAL
INDUSTRIES LIMITED,

                          Defendants.


       Plaintiff Celgene Corporation (“Celgene”), by its undersigned attorneys, for its

Complaint against defendants Sun Pharma Global FZE (“Sun FZE”), Sun Pharma Global Inc.

(“Sun Pharma”), Sun Pharmaceutical Industries, Inc. (“Sun Inc.”), and Sun Pharmaceutical

Industries Limited (“Sun Ltd.”) (collectively, “Sun”), alleges as follows:

                                        Nature of the Action

       1.        This is an action for patent infringement under the patent laws of the United

States, 35 U.S.C. §100, et seq., arising from Sun’s filing of an Abbreviated New Drug

Application (“ANDA”) No. 211846 (“Sun’s ANDA”) with the United States Food and Drug
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Administration (“FDA”) seeking approval to commercially market generic versions of Celgene’s

2.5 mg, 5 mg, 10 mg, 15 mg, 20 mg, and 25 mg REVLIMID® drug products (“Sun’s ANDA

Products”) prior to the expiration of United States Patent Nos. 7,977,357 (the “’357 patent”),

8,193,219 (the “’219 patent”), and 8,431,598 (the “’598 patent”), all owned by Celgene

(collectively, “the patents-in-suit”).

                                           The Parties

        2.        Plaintiff Celgene is a biopharmaceutical company committed to improving the

lives of patients worldwide. Celgene focuses on, and invests heavily in, the discovery and

development of products for the treatment of severe and life-threatening conditions. Celgene is a

world leader in the treatment of many such diseases, including cancer. Celgene is a corporation

organized and existing under the laws of the State of Delaware, having a principal place of

business at 86 Morris Avenue, Summit, New Jersey 07901.

        3.        On information and belief, Sun Pharma Global FZE is a corporation organized

and existing under the laws of the United Arab Emirates, having a principal place of business at

Office # 43, Block Y, SAIF-Zone, P.O. Box #122304, Sharjah, United Arab Emirates. On

information and belief, Sun FZE is a wholly-owned subsidiary of Sun Pharmaceutical Industries

Limited.

        4.        On information and belief, Sun Pharma Global Inc. is a corporation organized

and existing under the laws of the British Virgin Islands, and maintains a post office box at

International Trust Building, P.O. Box No. 659, Road Town, Tortola, British Virgin Islands. On

information and belief, Sun Pharma is a wholly-owned subsidiary of Sun Pharmaceutical

Industries Limited.

        5.        On information and belief, Sun Pharmaceutical Industries, Inc. is a corporation

organized and existing under the laws of the State of Michigan, having a principal place of


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business at 2 Independence Way, Princeton, New Jersey 08540. On information and belief, Sun

Inc. is a wholly-owned subsidiary of Sun Pharmaceutical Industries Ltd.

       6.       On information and belief, Sun Pharmaceutical Industries Limited is a

corporation organized and existing under the laws of existing under the laws of India, having a

principal place of business at Sun House, CTS No. 201 B/1, Western Express Highway,

Goregaon (E), Mumbai 400 063, Maharashtra, India.

                                      The Patents-in-Suit

       7.       On July 12, 2011, the USPTO duly and lawfully issued the ’357 patent, entitled,

“Polymorphic Forms of 3-(4- amino-1-oxo-1,3 dihydro-isoindol-2-yl)-piperidine-2,6-dione,” to

Celgene as assignee of the inventors Markian S. Jaworsky, Roger Shen-Chu Chen, and George

W. Muller. A copy of the ’357 patent is attached hereto as Exhibit A.

       8.       On June 5, 2012, the USPTO duly and lawfully issued the ’219 patent, entitled,

“Polymorphic Forms of 3-(4-amino-1-oxo-1,3 dihydro-isoindol-2-yl)-piperidine-2,6-dione,” to

Celgene as assignee of the inventors Markian S. Jaworsky, Roger Shen-Chu Chen, and George

W. Muller. A copy of the ’219 patent is attached hereto as Exhibit B.

       9.       On April 30, 2013, the USPTO duly and lawfully issued the ’598 patent,

entitled, “Polymorphic Forms of 3-(4-amino-1-oxo-1,3 dihydro-isoindol-2-yl)-piperidine-2,6-

dione” to Celgene as assignee of the inventors Markian S. Jaworsky, Roger Shen-Chu Chen, and

George W. Muller. A copy of the ’598 patent is attached hereto as Exhibit C.

                                 The Revlimid® Drug Product

       10.      Celgene holds an approved New Drug Application (“NDA”) under Section

505(a) of the Federal Food Drug and Cosmetic Act (“FFDCA”), 21 U.S.C. § 355(a), for

lenalidomide capsules (NDA No. 21-880), which it sells under the trade name REVLIMID®.

REVLIMID® is an FDA-approved medication used for the treatment of certain forms of cancer,


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including multiple myeloma (MM), in combination with dexamethasone. The claims of the

patents-in-suit cover, inter alia, solid forms of lenalidomide and pharmaceutical compositions

containing those solid forms.

                                         Jurisdiction and Venue

        11.          This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331, 1338(a), 2201, and 2202.

        12.          This Court has personal jurisdiction over Sun by virtue of, inter alia, its

systematic and continuous contacts with the State of New Jersey.

        13.          On information and belief, Sun FZE, Sun Pharma, Sun Inc., and Sun Ltd.

develop, manufacture, distribute, market, offer to sell, and sell generic drug products for sale and

use throughout the United States, including within this Judicial District.

        14.          On information and belief, Sun FZE, Sun Pharma, Sun Inc., and Sun Ltd.

prepare and/or aid in the submission of ANDAs to the FDA.

        15.          On information and belief, Sun FZE, Sun Pharma, Sun Inc., and Sun Ltd. derive

substantial revenue from selling generic products throughout the United States, including in this

Judicial District.

        16.          This Court has personal jurisdiction over Sun because, inter alia, it has

committed an act of patent infringement under 35 U.S.C. § 271(e)(2), and has sent notice of that

infringement to Celgene in the State of New Jersey. On information and belief, Sun intends a

future course of conduct that includes acts of patent infringement in New Jersey. These acts

have led and will continue to lead to foreseeable harm and injury to Celgene in New Jersey,

including in this Judicial District.

        17.          On information and belief, Sun FZE, Sun Pharma, Sun Inc., and Sun Ltd.

actively participated in the submission of Sun’s ANDA. On information and belief, Sun Ltd.


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will work in concert with Sun FZE, Sun Pharma, Sun Inc., and/or other subsidiaries towards the

regulatory approval, manufacturing, use, importation, marketing, offer for sale, sale, and

distribution of generic pharmaceutical products, including Sun’s ANDA Products, throughout the

United States, including in New Jersey and in this Judicial District, prior to the expiration of the

patents-in-suit.

        18.        On information and belief, Sun seeks approval from the FDA to sell Sun’s

ANDA Products throughout the United States, including in this Judicial District. On information

and belief, this Judicial District will be a destination for the generic drug product described in

Sun’s ANDA.

        19.        This Court has personal jurisdiction over Sun because Sun has purposefully

availed itself of the rights and benefits of New Jersey law by engaging in systematic and

continuous contacts with the State of New Jersey. On information and belief, Sun regularly and

continuously transacts business within New Jersey, directly or indirectly, including by making

pharmaceutical products for sale in New Jersey and selling pharmaceutical products in New

Jersey. For example, Sun’s website states that its “US headquarters are in Cranbury, New

Jersey,” that it has “distribution and customer service teams at multiple locations across the

country,” and that “Sun Pharma’s latest acquisition of a majority interest in Ranbaxy

Laboratories Limited (Ranbaxy) and its Ohm Laboratories facilities in the [sic] New Jersey

makes it the largest Indian pharma company in the US market . . . .” Sun Pharma USA,

http://www.sunpharma.com/usa (last visited April 16, 2019).

        20.        This Court has personal jurisdiction over Sun FZE by virtue of, inter alia, its

systematic and continuous contacts with the State of New Jersey. On information and belief,

Sun FZE purposefully has conducted and continues to conduct business in this Judicial District.




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        21.      On information and belief, Sun FZE is in the business of, among other things,

manufacturing, marketing, importing, offering for sale, and selling pharmaceutical products,

including generic drug products, throughout the United States, including in this Judicial District.

        22.      On information and belief, Sun FZE, alone or through Sun Pharma, Sun Inc.,

and/or Sun Ltd., or through distributors, retailers, and/or wholesalers, manufactures and/or

distributes generic drugs for sale and use throughout the United States, including in this Judicial

District.

        23.      On information and belief, Sun FZE has previously consented to this Court’s

jurisdiction and has availed itself of the protections afforded by the Court by asserting

counterclaims against plaintiffs in this Judicial District. See, e.g., Celgene Corporation v. Sun

Pharmaceutical Industries, Inc., et al., Civil Action No. 18-11630 (SDW)(LDW); Novartis

Pharmaceuticals Corp., et al. v. Sun Pharma Global FZE, et al., Civil Action No. 12-4393

(SDW)(MCA); The Medicines Co. v. Sun Pharma Global FZE, et al., Civil Action No. 11-6819

(PGS)(DEA).

        24.      In the alternative, this Court has personal jurisdiction over Sun FZE because the

requirements of Federal Rule of Civil Procedure 4(k)(2) are met as (a) Celgene’s claims arise

under federal law; (b) Sun FZE is a foreign defendant not subject to general personal jurisdiction

in the courts of any state; and (c) Sun FZE has sufficient contacts with the United States as a

whole, including, but not limited to, preparing and submitting ANDAs to the FDA and/or

manufacturing, importing, offering to sell, and/or selling pharmaceutical products that are

distributed throughout the United States, such that this Court’s exercise of jurisdiction over Sun

FZE satisfies due process.




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        25.          This Court has personal jurisdiction over Sun Pharma by virtue of, inter alia, its

systematic and continuous contacts with the State of New Jersey. On information and belief,

Sun Pharma purposefully has conducted and continues to conduct business in this Judicial

District.

        26.          On information and belief, Sun Pharma is in the business of, among other

things, manufacturing, marketing, importing, offering for sale, and selling pharmaceutical

products, including generic drug products, throughout the United States, including in this

Judicial District.

        27.          On information and belief, Sun Pharma, alone or through Sun FZE, Sun Inc.,

and/or Sun Ltd., or through distributors, retailers, and/or wholesalers, manufactures and/or

distributes generic drugs for sale and use throughout the United States, including in this Judicial

District.

        28.          On information and belief, Sun Pharma has previously consented to this Court’s

jurisdiction and has availed itself of the protections afforded by the Court by asserting

counterclaims against plaintiffs in this Judicial District. See, e.g., Celgene Corporation v. Sun

Pharmaceutical Industries, Inc., et al., Civil Action No. 18-11630 (SDW)(LDW); Otsuka

Pharm. Co. v. Sun Pharm. Indus. Ltd., et al., Civil Action No. 14-4307 (JBS)(KMW); Otsuka

Pharm. Co. v. Sun Pharm. Indus. Ltd., et al., Civil Action No. 14-6397 (JBS)(KMW); Aventis

Pharm. Inc., et al. v. Sun Pharma Global Inc., et al., Civil Action No. 09-325 (GEB)(MCA).

        29.          In the alternative, this Court has personal jurisdiction over Sun Pharma because

the requirements of Federal Rule of Civil Procedure 4(k)(2) are met as (a) Celgene’s claims arise

under federal law; (b) Sun Pharma is a foreign defendant not subject to general personal

jurisdiction in the courts of any state; and (c) Sun Pharma has sufficient contacts with the United




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States as a whole, including, but not limited to, preparing and submitting ANDAs to the FDA

and/or manufacturing, importing, offering to sell, and/or selling pharmaceutical products that are

distributed throughout the United States, such that this Court’s exercise of jurisdiction over Sun

Pharma satisfies due process.

        30.      This Court has personal jurisdiction over Sun Inc. by virtue of, inter alia, its

systematic and continuous contacts with the State of New Jersey. On information and belief,

Sun Inc. purposefully has conducted and continues to conduct business in this Judicial District.

        31.      On information and belief, Sun Inc. is in the business of, among other things,

manufacturing, marketing, importing, offering for sale, and selling pharmaceutical products,

including generic drug products, throughout the United States, including in this Judicial District.

        32.      On information and belief, Sun Inc., alone or through Sun FZE, Sun Pharma,

and/or Sun Ltd., or through distributors, retailers, and/or wholesalers, manufactures and/or

distributes generic drugs for sale and use throughout the United States, including in this Judicial

District.

        33.      On information and belief, Sun, through at least Sun Inc., maintains physical

places of business in at least Princeton, New Jersey and Cranbury, New Jersey.

        34.      On information and belief, Sun Inc. is registered with the State of New Jersey’s

Division of Revenue and Enterprise Services as a business operating in New Jersey under

Business ID Nos. 0100954087 and/or 0100970132 and is registered as a manufacturer and

wholesaler with the New Jersey Department of Health under Registration No. 5003437.

        35.      On information and belief, Sun Inc. has previously consented to this Court’s

jurisdiction and has availed itself of the protections afforded by the Court by asserting

counterclaims against plaintiffs in this Judicial District. See, e.g., Celgene Corporation v. Sun




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Pharmaceutical Industries, Inc., et al., Civil Action No. 18-11630 (SDW)(LDW); Janssen

Pharm. Inc. v. Sun Pharma Global FZE, et al., Civil Action No. 11-6089 (SRC)(CLW); Otsuka

Pharm. Co. v. Sun Pharm. Indus. Ltd., et al., Civil Action No. 14-4307 (JBS)(KMW); Otsuka

Pharm. Co. v. Sun Pharm. Indus. Ltd., Civil Action No. 14-6397 (JBS)(KMW).

          36.    On information and belief, Sun FZE, Sun Global, and Sun Inc. act for the

benefit of and at the direction of Sun Ltd., and are agents and/or alter egos of Sun Ltd.

          37.    This Court has personal jurisdiction over Sun Ltd. by virtue of, inter alia, its

systematic and continuous contacts with the State of New Jersey. On information and belief,

Sun Ltd. purposefully has conducted and continues to conduct business in this Judicial District.

          38.    On information and belief, Sun Ltd. is in the business of, among other things,

manufacturing, marketing, importing, offering for sale, and selling pharmaceutical products,

including generic drug products, throughout the United States, including in this Judicial District.

          39.    On information and belief, Sun Ltd., alone or through Sun FZE, Sun Pharma,

and/or Sun Inc., or through distributors, retailers, and/or wholesalers, manufactures and/or

distributes generic drugs for sale and use throughout the United States, including in this Judicial

District.

          40.    This Court also has personal jurisdiction over Sun Ltd. because Sun Ltd. has

purposefully availed itself of the rights and benefits of New Jersey law by engaging in systematic

and continuous contacts with the State of New Jersey. On information and belief, Sun Ltd.

regularly and continuously transacts business within New Jersey, including by making

pharmaceutical products for sale in New Jersey and selling pharmaceutical products in New

Jersey.




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        41.       This Court has personal jurisdiction over Sun Ltd. because, inter alia, it: (1) has

 purposefully availed itself of the privilege of doing business in New Jersey, including directly or

 indirectly through its subsidiary, agent, and/or alter ego, Sun Inc., a company registered as a

 manufacturer and wholesaler with the New Jersey Department of Health under Registration No.

 5003437 and registered with the State of New Jersey’s Division of Revenue and Enterprise

 Services as a business operating in New Jersey under Business ID Nos. 0100954087 and/or

 0100970132; and (2) maintains extensive and systematic contacts with the State of New Jersey,

 including the marketing, distribution, and/or sale of generic pharmaceutical drugs in New Jersey,

 including through, directly or indirectly, Sun Inc. On information and belief, Sun Inc. acts at the

 direction, and for the benefit, of Sun Ltd., and is controlled and/or dominated by Sun Ltd.

        42.       On information and belief, Sun Ltd. has previously invoked, stipulated, and/or

 consented to personal jurisdiction in this Judicial District in numerous prior patent cases.

        43.       Sun Ltd. has previously been sued in this Judicial District and has availed itself

 of New Jersey courts through the assertion of counterclaims in suits brought in New Jersey, and

 has not challenged personal jurisdiction. See, e.g., Celgene Corporation v. Sun Pharmaceutical

 Industries, Inc., et al., Civil Action No. 18-11630 (SDW)(LDW); Jazz Pharmaceuticals, Inc., et

 al. v. Sun Pharmaceutical Industries Ltd., et al., Civil Action No. 15-8229 (ES)(JAD);

 Boehringer Ingelheim Pharmaceuticals Inc., et al. v. Sun Pharmaceutical Industries Ltd., et al.,

 Civil Action No. 15-5982 (PGS)(TJB); Jazz Pharmaceuticals, Inc. v. Sun Pharmaceutical

 Industries Ltd., et al., Civil Action No. 15-3217 (ES)(JAD); Otsuka Pharmaceutical Co., Ltd. v.

 Sun Pharmaceutical Industries Ltd., et al., Civil Action No. 14-6397 (JBS)(KMW); Otsuka

 Pharmaceutical Co., Ltd. v. Sun Pharmaceutical Industries, Inc., et al., Civil Action No. 14-

 4307 (JBS)(KMW); Cephalon, Inc. v. Sun Pharmaceutical Industries, Inc., et al., Civil Action




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 No. 11-5474 (FLW)(DEA); Depomed, Inc., et al. v. Sun Pharmaceutical Industries, Inc., et al.,

 Civil Action No. 11-3553 (JAP)(TJB).

        44.       Sun Ltd. has further availed itself of the jurisdiction of this Court by initiating

 litigation in this Judicial District. See, e.g., Sun Pharmaceutical Industries Ltd., et al. v. Altana

 Pharma AG, et al., Civil Action No. 05-2391 (KSH)(PS).

        45.       In the alternative, this Court has personal jurisdiction over Sun Ltd. because the

 requirements of Federal Rule of Civil Procedure 4(k)(2) are met as (a) Celgene’s claims arise

 under federal law; (b) Sun Ltd. is a foreign defendant not subject to general personal jurisdiction

 in the courts of any state; and (c) Sun Ltd. has sufficient contacts with the United States as a

 whole, including, but not limited to, preparing and submitting ANDAs to the FDA and/or

 manufacturing, importing, offering to sell, and/or selling pharmaceutical products that are

 distributed throughout the United States, such that this Court’s exercise of jurisdiction over Sun

 Ltd. satisfies due process.

        46.       Venue is proper in this Judicial District pursuant to 28 U.S.C. §§ 1391 and/or

 1400(b).

                                      Acts Giving Rise To This Suit

        47.       Pursuant to Section 505 of the FFDCA, Sun filed Sun’s ANDA seeking

 approval to engage in the commercial manufacture, use, sale, offer for sale, or importation into

 the United States of lenalidomide capsules 2.5 mg, 5 mg, 10 mg, 15 mg, 20 mg, and 25 mg

 before the patents-in-suit expire.

        48.       On information and belief, following FDA approval of Sun’s ANDA, Sun will

 make, use, sell, or offer to sell Sun’s ANDA Products throughout the United States, or import

 such generic products into the United States.




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         49.       On information and belief, in connection with the filing of its ANDA as

 described above, Sun provided a written certification to the FDA pursuant to Section 505 of the

 FFDCA, 21 U.S.C. § 355(j)(2)(A)(vii)(IV) (“Sun’s Paragraph IV Certification”), alleging that

 the claims of United States Patent Nos. 7,465,800 (the “’800 patent”), 7,855,217 (the “’217

 patent”), and 7,968,569 (the “’569 patent”) are invalid, unenforceable, and/or will not be

 infringed by the activities described in Sun’s ANDA.

         50.       No earlier than May 30, 2018, Sun sent written notice of its Paragraph IV

 Certification to Celgene (“Sun’s Notice Letter”). Sun’s Notice Letter alleged that the claims of

 the ’800, ’217, and ’569 patents are invalid and/or will not be infringed by the activities

 described in Sun’s ANDA. Sun’s Notice Letter also informed Celgene that Sun seeks approval

 to market Sun’s ANDA Products before the ’800, ’217, and ’569 patents expire. Sun specifically

 directed Sun’s Notice Letter to Celgene’s headquarters in Summit, New Jersey, in this Judicial

 District.

                             Count I: Infringement of the ’357 Patent

         51.       Celgene repeats and realleges the allegations of the preceding paragraphs as if

 fully set forth herein.

         52.       Sun, by the submission of its Paragraph IV Certification as part of its ANDA to

 the FDA, has indicated that it seeks approval to engage in the commercial manufacture, use, sale,

 offer for sale, or importation into the United States of Sun’s ANDA Products, prior to the

 expiration of the ’357 patent.

         53.       Sun’s ANDA has been pending before the FDA since at least May 30, 2018, the

 date that Sun sent Sun’s Notice Letter to Celgene.

         54.       Sun’s submission of its ANDA to engage in the commercial manufacture, use,

 sale, offer for sale, or importation into the United States of Sun’s ANDA Products, prior to the


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 expiration of the ’357 patent, constitutes infringement of one or more of the claims of that patent

 under 35 U.S.C. § 271(e)(2)(A).

        55.       There is a justiciable controversy between the parties hereto as to the

 infringement of the ’357 patent.

        56.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

 infringe one or more claims of the ’357 patent under 35 U.S.C. § 271(a) by making, using,

 offering to sell, selling, and/or importing Sun’s ANDA Products in the United States.

        57.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

 induce infringement of one or more claims of the ’357 patent under 35 U.S.C. § 271(b) by

 making, using, offering to sell, selling, and/or importing Sun’s ANDA Products in the United

 States. On information and belief, upon FDA approval of Sun’s ANDA, Sun will intentionally

 encourage acts of direct infringement with knowledge of the ’357 patent and knowledge that its

 acts are encouraging infringement.

        58.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

 contributorily infringe one or more claims of the ’357 patent under 35 U.S.C. § 271(c) by

 making, using, offering to sell, selling, and/or importing Sun’s ANDA Products in the United

 States. On information and belief, Sun has had and continues to have knowledge that Sun’s

 ANDA Products are especially adapted for a use that infringes one or more claims of the ’357

 patent and that there is no substantial non-infringing use for Sun’s ANDA Products.

        59.       Celgene will be substantially and irreparably damaged and harmed if Sun’s

 infringement of the ’357 patent is not enjoined.

        60.       Celgene does not have an adequate remedy at law.




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         61.       This case is an exceptional one, and Celgene is entitled to an award of its

 reasonable attorneys’ fees under 35 U.S.C. § 285.

                            Count II: Infringement of the ’219 Patent

         62.       Celgene repeats and realleges the allegations of the preceding paragraphs as if

 fully set forth herein.

         63.       Sun, by the submission of its Paragraph IV Certification as part of its ANDA to

 the FDA, has indicated that it seeks approval to engage in the commercial manufacture, use, sale,

 offer for sale, or importation into the United States of Sun’s ANDA Products, prior to the

 expiration of the ’219 patent.

         64.       Sun’s ANDA has been pending before the FDA since at least May 30, 2018, the

 date that Sun sent Sun’s Notice Letter to Celgene.

         65.       Sun’s submission of its ANDA to engage in the commercial manufacture, use,

 sale, offer for sale, or importation into the United States of Sun’s ANDA Products, prior to the

 expiration of the ’219 patent, constitutes infringement of one or more of the claims of that patent

 under 35 U.S.C. § 271(e)(2)(A).

         66.       There is a justiciable controversy between the parties hereto as to the

 infringement of the ’219 patent.

         67.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

 infringe one or more claims of the ’219 patent under 35 U.S.C. § 271(a) by making, using,

 offering to sell, selling, and/or importing Sun’s ANDA Products in the United States.

         68.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

 induce infringement of one or more claims of the ’219 patent under 35 U.S.C. § 271(b) by

 making, using, offering to sell, selling, and/or importing Sun’s ANDA Products in the United

 States. On information and belief, upon FDA approval of Sun’s ANDA, Sun will intentionally


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 encourage acts of direct infringement with knowledge of the ’219 patent and knowledge that its

 acts are encouraging infringement.

         69.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

 contributorily infringe one or more claims of the ’219 patent under 35 U.S.C. § 271(c) by

 making, using, offering to sell, selling, and/or importing Sun’s ANDA Products in the United

 States. On information and belief, Sun has had and continues to have knowledge that Sun’s

 ANDA Products are especially adapted for a use that infringes one or more claims of the ’219

 patent and that there is no substantial non-infringing use for Sun’s ANDA Products.

         70.       Celgene will be substantially and irreparably damaged and harmed if Sun’s

 infringement of the ’219 patent is not enjoined.

         71.       Celgene does not have an adequate remedy at law.

         72.       This case is an exceptional one, and Celgene is entitled to an award of its

 reasonable attorneys’ fees under 35 U.S.C. § 285.

                            Count III: Infringement of the ’598 Patent

         73.       Celgene repeats and realleges the allegations of the preceding paragraphs as if

 fully set forth herein.

         74.       Sun, by the submission of its Paragraph IV Certification as part of its ANDA to

 the FDA, has indicated that it seeks approval to engage in the commercial manufacture, use, sale,

 offer for sale, or importation into the United States of Sun’s ANDA Products, prior to the

 expiration of the ’598 patent.

         75.       Sun’s ANDA has been pending before the FDA since at least May 30, 2018, the

 date that Sun sent Sun’s Notice Letter to Celgene.

         76.       Sun’s submission of its ANDA to engage in the commercial manufacture, use,

 sale, offer for sale, or importation into the United States of Sun’s ANDA Products, prior to the


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 expiration of the ’598 patent, constitutes infringement of one or more of the claims of that patent

 under 35 U.S.C. § 271(e)(2)(A).

        77.       There is a justiciable controversy between the parties hereto as to the

 infringement of the ’598 patent.

        78.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

 infringe one or more claims of the ’598 patent under 35 U.S.C. § 271(a) by making, using,

 offering to sell, selling, and/or importing Sun’s ANDA Products in the United States.

        79.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

 induce infringement of one or more claims of the ’598 patent under 35 U.S.C. § 271(b) by

 making, using, offering to sell, selling, and/or importing Sun’s ANDA Products in the United

 States. On information and belief, upon FDA approval of Sun’s ANDA, Sun will intentionally

 encourage acts of direct infringement with knowledge of the ’598 patent and knowledge that its

 acts are encouraging infringement.

        80.       Unless enjoined by this Court, upon FDA approval of Sun’s ANDA, Sun will

 contributorily infringe one or more claims of the ’598 patent under 35 U.S.C. § 271(c) by

 making, using, offering to sell, selling, and/or importing Sun’s ANDA Products in the United

 States. On information and belief, Sun has had and continues to have knowledge that Sun’s

 ANDA Products are especially adapted for a use that infringes one or more claims of the ’598

 patent and that there is no substantial non-infringing use for Sun’s ANDA Products.

        81.       Celgene will be substantially and irreparably damaged and harmed if Sun’s

 infringement of the ’598 patent is not enjoined.

        82.       Celgene does not have an adequate remedy at law.




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         83.       This case is an exceptional one, and Celgene is entitled to an award of its

 reasonable attorneys’ fees under 35 U.S.C. § 285.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Celgene respectfully requests the following relief:

         (A)     A Judgment that Sun has infringed the patents-in-suit by submitting ANDA No.

 211846;

         (B)     A Judgment that Sun has infringed, and that Sun’s making, using, offering to sell,

 selling, or importing Sun’s ANDA Products will infringe one or more claims of the patents-in-

 suit;

         (C)     An Order that the effective date of FDA approval of ANDA No. 211846 be a date

 which is not earlier than the later of the expiration of the patents-in-suit, or any later expiration of

 exclusivity to which Celgene is or becomes entitled;

         (D)     Preliminary and permanent injunctions enjoining Sun and its officers, agents,

 attorneys and employees, and those acting in privity or concert with them, from making, using,

 offering to sell, selling, or importing Sun’s ANDA Products until after the expiration of the

 patents-in-suit, or any later expiration of exclusivity to which Celgene is or becomes entitled;

         (E)     A permanent injunction, pursuant to 35 U.S.C. § 271(e)(4)(B), restraining and

 enjoining Sun, its officers, agents, attorneys and employees, and those acting in privity or concert

 with them, from practicing any solid forms of lenalidomide or compositions claimed in the

 patents-in-suit, or from actively inducing or contributing to the infringement of any claim of the

 patents-in-suit, until after the expiration of the patents-in-suit, or any later expiration of

 exclusivity to which Celgene is or becomes entitled;




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         (F)      A Judgment that the commercial manufacture, use, importation into the United

 States, sale, and/or offer for sale of Sun’s ANDA Products will directly infringe, induce and/or

 contribute to infringement of the patents-in-suit;

         (G)      To the extent that Sun has committed any acts with respect to the solid forms of

 lenalidomide or compositions claimed in the patents-in-suit, other than those acts expressly

 exempted by 35 U.S.C. § 271(e)(1), a Judgment awarding Celgene damages for such acts;

         (H)      If Sun engages in the commercial manufacture, use, importation into the United

 States, sale, and/or offer for sale of Sun’s ANDA Products prior to the expiration of the patents-

 in-suit, a Judgment awarding damages to Celgene resulting from such infringement, together

 with interest;

         (I)      A Judgment declaring that the patents-in-suit remain valid and enforceable;

         (J)      A Judgment that this is an exceptional case pursuant to 35 U.S.C. § 285 and

 awarding Celgene its attorneys’ fees incurred in this action;

         (K)      A Judgment awarding Celgene its costs and expenses incurred in this action; and

         (L)      Such further and other relief as this Court may deem just and proper.




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                  CERTIFICATION PURSUANT TO L. CIV. R. 11.2 & 40.1

        Pursuant to Local Civil Rules 11.2 and 40.1, I hereby certify that the matter captioned

 Celgene Corporation v. Sun Pharmaceutical Industries, Inc., et al., Civil Action No. 18-11630

 (SDW)(LDW) (D.N.J.) is related to the matter in controversy because the matter in controversy

 involves the same parties and because Sun is seeking FDA approval to market generic versions

 of the same pharmaceutical product.

        I further certify that the matters captioned Celgene Corporation v. Cipla Limited, Civil

 Action No. 18-8964 (SDW)(LDW) (D.N.J.) and Celgene Corporation v. Zydus Pharmaceuticals

 (USA) Inc., et al., Civil Action No. 18-8519 (SDW)(LDW) (D.N.J.) are related to the matter in

 controversy because the matter in controversy involves the same plaintiff, the same patents, and

 because the defendants are seeking FDA approval to market generic versions of the same

 pharmaceutical product.

        I further certify that the matters captioned Celgene Corporation v. Apotex Inc., Civil

 Action No. 19-6999 (SDW) (LDW) (D.N.J.); Celgene Corporation v. Hetero Labs Limited, et

 al., Civil Action No. 18-17463 (SDW)(LDW) (D.N.J.); Celgene Corporation v. Dr. Reddy’s

 Laboratories, Ltd., et al., Civil Action No. 18-6378 (SDW)(LDW) (D.N.J.); Celgene

 Corporation v. Apotex Inc., Civil Action No. 18-461 (SDW)(LDW) (D.N.J.); Celgene

 Corporation v. Cipla Limited, Civil Action No. 17-6163 (SDW)(LDW) (D.N.J.); Celgene

 Corporation v. Dr. Reddy’s Laboratories, Ltd., et al., Civil Action No. 17-5314 (SDW)(LDW)

 (D.N.J.); Celgene Corporation v. Zydus Pharmaceuticals (USA) Inc., et al., Civil Action No. 17-

 2528 (SDW)(LDW) (D.N.J.); and Celgene Corporation v. Dr. Reddy’s Laboratories, Ltd., et al.,

 Civil Action No. 16-7704 (SDW)(LDW) (D.N.J.) are related to the matter in controversy

 because the matter in controversy involves the same plaintiff and because the defendants are

 seeking FDA approval to market generic versions of the same pharmaceutical product.


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        I further certify that, to the best of my knowledge, the matter in controversy is not the

 subject of any other action pending in any court, or of any pending arbitration or administrative

 proceeding.



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